          Case 5:21-cv-00844-XR Document 746-2 Filed 09/01/23 Page 1 of 2



May 5, 2023

VIA EMAIL: Kathleen.hunker@oag.texas.gov

Kathleen Hunker, Esq.
Special Counsel
Office of Attorney General
P.O. Box 12548 (MC 009)
Austin, Texas 78711-2548

       Re:     La Unión del Pueblo Entero, et al. v. Abbott, et al., Case No. 5:21-cv-00844-XR,
               United States District Court for the Western District of Texas, San Antonio Division
               (Consolidated Cases)

Dear Kathleen:

It was good speaking with you on May 3, 2023 for our third meet and confer concerning Defendant
Secretary of State’s (the “Secretary’s”) compliance with HAUL Plaintiffs’ RFP No. 25. As you
requested, I write to memorialize the agreement we reached in our call.

You agreed that, on or before May 22, 2023, the Secretary will produce, in EXCEL format, all data
contained in the TEAM database concerning the November, 2022 general election that is requested
in the Brennan Center’s March 1, 2023 Public Information Act requests to the Secretary (the “May
22 Production”).

We further agreed that, if the May 22 Production lacks data for any Texas county, the HAUL
Plaintiffs will notify you and you will inquire of the Secretary the reason such data are missing. You
will identify for us each county for which there is no responsive data in TEAM, and, for any county
for which responsive data are present in TEAM but were omitted from the May 22 Production, the
Secretary will produce the data, in EXCEL format.

The HAUL Plaintiffs agree that the Secretary’s production of all data in TEAM described in the
Brennan Center’s March 1, 2023, Public Information Act requests will satisfy the Secretary of
State’s discovery obligations under RFP No. 25(c).

Finally, we agreed that, following service of a supplementary expert report by HAUL Plaintiffs’
expert Professor Daniel Smith analyzing the data that are the subject of this letter, the State
Defendants may take a further deposition of Professor Smith, limited to the matter in his
supplementary report, and we consent to your service of a notice of deposition after the deadline to
complete expert discovery, notwithstanding any other deadlines in this case.

I am glad we have been able to resolve this discovery dispute. Please advise if you consider anything
set forth above regarding our agreement to be inaccurate.





             Case 5:21-cv-00844-XR Document 746-2 Filed 09/01/23 Page 2 of 2



Sincerely,

s/Victor Genecin

Victor Genecin
Of Counsel






